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                                          COURTROOM MINUTE SHEET - CRIMINAL HEARINGS
                                              U.S. DISTRICT COURT- WICHITA, KANSAS
                                                               Date:      JJ/lf IfU2:>
    United States of America,
                             Plaintiff,
    V.                                                                                       Case No.       23-6055-01-GEB
      Margarita Rosales

                             Defendant.

    JUDGE:    Birzer □ Gale
               'D
    DEPUTY CLERI<: ,,E:r'Anderson □ Carter
                                                                                             AUSA:     1h~
                                                                                             DEFENSECOUL~ ~ u ; ,
                                                                                                                          ~ /+.ruyf,
    INTERPRETER:     □ Vargas □ Badillo □ Maitinez                                           TAPENO.:        ~l(5" -
                                                                                                          f-,5~                                 .
                     D Ping D Rivera □ Vilaythong
                     D Sworn
                                                                  PROCEEDINGS
  D Initial Appearance                                              □ Detention Hearing                              D     Bond Rev. Hrg
_.,Q-Jnitial Rule 5(c)(3)                                           □ Preliminary Hearing                            □     Pretrial Conference
  D Sentencing                                                      □ Change of Plea
  □ In-Comt Hearing:
  □ Arraignment           □ Reading waived                          □ Read to Defendant                              D      Not Guilty Plea Entered

                             [)1·~~rJ
  D Complaint ..-e:f Indictment D Information D Pet. Revoke Supervision ffNo. Counts:                                          ~      .Q-F'orfeiture
,,..0"'felony                D Misdemeanor
.)a-tharges/Viols. and penalties explained to Defendant
~      Constitutional rights explained
....E:rDefendant affirmation/sworn              .)a"Examined re: financial status           ~                                    ounsel appointed
)2rDue Process Protections Act advisement given
  D Defendant given Consular Notification
_)a-Advised ofrights under Rule D 20 $ 5(c)(3) ~ Transfer to: {)if'b1'clr ~                                         0t.J
  D Signed Wvr Ind         D Signed Consent to MJ D Petition to Plea filed     D Plea mt filed                                   D    PSI ordered


    D Release ordered                                 D Bond fixed at: $ _ _ _ _ _                 D Continued on present bond/conditions
    D Oral Motion for temp. det.; granted            ,.E]Detention orde1) d                        f f Remanded to custody

    D Defendant waived the right to a detention hearing. The c ~ :d the waiver and granted the Government motion for detention.
    D Defendant waived the right to a preliminary hearing. The Court accepted the waiver and found probable cause as alleged.
    D Oral Motion by Government for detention is            D granted.          D denied.              D withdrawn.         D taken under advisement.
    D Oral Motion by Defendant to continue detention and preliminary hearing is D granted.             D denied.
    D The Government adopted the recommendations of Pretrial Services for release on conditions.
~      Defendant waived the right to an identity hearing. The Court accepted the waiver and found Defendant to be the person named. Defendant
    waived the right to a detention hearing in the District of Kansas. The Court accepted the waiver and granted the Govt. motion for detention pending
    proceedings in the charging District.

    Defendant's next appearance: ,E'.las directed before Judge.A#\. f>,'.ytn'or'~ /vi                      tJ ·
                                  □ per the Scheduling Order of Judge _ _ _ _ _ __
                                  D on _ _ _ _ _ _ _ at _ _ _ □ a.m. □ p.m. before Judge _ _ _ _ _ _ __
                                      for D detention hearing D arraignment □ prelim hearing □                                 _______
    NOTES: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
